           Case 01-01139-AMC       Doc 22144-5     Filed 06/17/09    Page 1 of 7




                              CERTIFICATE OF SERVICE

       Garvan F. McDaniel hereby certifies that on June 17, 2009, he caused a copy of the

foregoing Arrowood’s Initial Deposition Designations of Testimony of Jeffrey Rosner, Richard

Finke, Jay Hughes, and Peter Van N. Lockwood and Request for Judicial Notice to be served by

electronic notification through the CM/ECF System for the United States Bankruptcy Court for

the District of Delaware on all parties registered in the case and on the parties listed via

electronic mail:

STROOCK & STROOCK & LAVAN LLP                    FERRY, JOSEPH & PEARCE, P.A.
Lewis Kruger, Esquire                            Michael B. Joseph, Esquire
Kenneth Pasquale, Esquire                        Theodore J. Tacconelli, Esquire
Arlene G. Krieger, Esquire                       mjoseph@ferryjoseph.com
lkruger@stroock.com                              ttacconelli@ferryjoseph.com
kpasquale@stroock.com                            (Delaware counsel for PD Committee)
akrieger@stroock.com
(Counsel to the Official Committee of            Roberta A. Deangelis
Unsecured Creditors)                             Acting United States Trustee
                                                 David M. Klauder, Esquire
DUANE MORRIS LLP                                 david.klauder@usdoj.gov
Michael R. Lastowski, Esquire                    ustpregion03.wl.ecf@usdoj.gov
Richard W. Riley, Esquire
mlastowski@duanemorris.com                       KATTEN MUCHIN ROSENMAN LLP
rriley@duanemorris.com                           Noah Heller, Esquire
(Delaware Counsel for the GUC’s)                 Merritt A. Pardini, Esquire
                                                 Jeff Friedman, Esquire
BILZIN SUMBERG BAENA PRICE &                     noah.heller@kattenlaw.com
AXELROD LLP                                      merritt.pardini@kattenlaw.com
Scott L. Baena, Esquire                          jeff.friedman@kattenlaw.com
Jay M. Sakalo, Esquire                           (Counsel to Bank of America etc re RMQ
Matthew I. Kramer, Esquire                       Bond)
Greg Horowitz, Esquire
sbaena@bilzin.com                                Tiffany Strelow Cobb, Esquire
jsakalo@bilzin.com                               rjsidman@vorys.com
mkramer@bilzin.com                               tscobb@vorys.com
(Counsel to the PD Committee)                    (Counsel to Scotts)
           Case 01-01139-AMC        Doc 22144-5     Filed 06/17/09   Page 2 of 7




RICHARDS LAYTON & FINGER, P.A.                    SCHIFFRIN BARROWAY TOPAZ &
Mark D. Collins, Esquire                          KESSLER LLP
Jason M. Madron, Esquire                          Joseph H. Meltzer, Esquire
Dana L. Reynolds, Esquire                         Katherine Bornstein, Esquire
Marcos Ramos, Esquire                             jmeltzer@sbtklaw.com
collins@rlf.com                                   kbornstein@sbtklaw.com
madron@rlf.com                                    (Counsel to the ERISA Plaintiffs)
Reynolds@rlf.com
ramos@rlf.com                                     RICHARDS, LAYTON & FINGER, P.A.
(Counsel to Bank of America)                      Robert J. Stearn, Jr. Esquire
                                                  Cory D. Kandestin, Esquire
PEPPER HAMILTON LLP                               stearn@rlf.com
David M. Fournier, Esquire                        kandestin@rlf.com
James C. Carignan , Esquire                       ( Delaware counsel to Scotts)
Robert S. Hertzberg, Esquire
Linda J. Casey, Esquire                           PEPPER HAMILTON LLP
fournierd@pepperlaw.com                           Evelyn J. Meltzer, Esquire
carignanj@pepperlaw.com                           Edward C. Toole Jr., Esquire
hertzbergr@pepperlaw.com                          Anne Marie Aaronson, Esquire
caseyl@pepperlaw.com                              meltzere@pepperlaw.com
(Counsel to BNSF)                                 toolee@pepperlaw.com
                                                  (Counsel to BNSF)
WOMBLE CARLYLE SANDRIDGE &
RICE, PLLC                                        LANDIS RATH & COBB LLP’
Francis A. Monaco, Jr. Esquire                    Adam G. Landis, Esquire
Kevin J. Mangan, Esquire                          Rebecca L. Butcher, Esquire
Matthew P. Ward, Esquire                          Kerri K. Mumford, Esquire
fmonaco@wcsr.com                                  James S. Green, Jr., Esquire
kmangan@wcsr.com                                  landis@lrclaw.com
maward@wcsr.com                                   butcher@lrclaw.com
(Counsel to State of Montana and The              mumford@lrclaw.com
Crown)                                            green@lrclaw.com
                                                  (Delaware counsel to Libby Claimants and
LOWENSTEIN SANDLER PC                             Pre Petition Lender Group)
Michael S. Etkin, Esquire
Ira M. Levee, Esquire                             COHN WHITESELL & GOLDBERG LLP
metkin@lowenstein.com                             Daniel C. Cohn, Esquire
ilevee@lowenstein.com                             Christopher M. Candon, Esquire
(Counsel to the ERISA Plaintiffs)                 cohn@cwg11.com
                                                  candon@cwg11.com
GILMAN & PASTOR, LLP                              (Counsel to Libby Claimants)
David Pastor, Esquire
Dpastor@Gilmanpastor.com
(Counsel to the ERISA Plaintiffs)
          Case 01-01139-AMC        Doc 22144-5     Filed 06/17/09     Page 3 of 7




SMITH, KATZENSTEIN & FURLOW LLP                  FORD MARRIN ESPOSITO WITMEYER
Kathleen M. Miller, Esquire                      & GLESER, LLP
Etta R. Wolfe, Esquire                           Elizabeth DeCristofaro, Esquire
kmiller@skfdelaware.com                          Shayne W. Spencer, Esquire
ewolfe@skfdelaware.com                           emdecristofaro@FMEW.com
(Delaware Counsel for Kaneb)                     swspencer@FMEW.com
                                                 (Counsel to CNA)
FULBRIGHT & JAWORSKI L.L.P.
Steve A. Peirce, Esquire                         WILEY REIN LLP
Toby L. Gerber, Esquire                          Richard A. Ifft, Esquire
speirce@fulbright.com                            rifft@wileyrein.com
tgerber@fulbright.com
(Counsel to Kaneb)                               WHITE AND WILLIAMS LLP
                                                 Marc S. Casarino , Esquire
CONNOLLY BOVE LODGE & HUTZ                       Joseph Gibbons, Esquire
Jeffrey Wisler, Esquire                          Gregory T. LoCasale, Esquire
Marc J. Phillips, Esquire                        James S. Yoder, Esquire
jwisler@cblh.com                                 casarinom@whiteandwilliams.com
mphillips@cblh.com                               gibbonsj@whiteandwilliams.com
(Counsel to Maryland Casualty and Zurich         locasaleg@whiteandwilliams.com
Insurance)                                       yoderj@whiteandwilliams.com
                                                 (Counsel to Century Indemnity Company)
ECKERT SEAMANS CHERIN &
MELLOTT, LLC                                     DRINKER BIDDLE & REATH LLP
Edward J. Longosz, II, Esquire                   Warren T. Pratt, Esquire
Laura G. Stover, Esquire                         David P. Primack, Esquire
elongosz@eckertseamans.com                       Michael F. Brown, Esquire
lstover@eckertseamans.com                        Jeffrey Boerger, Esquire
(Counsel to Maryland Casualty and Zurich)        warren.pratt@dbr.com
                                                 david.primack@dbr.com
ROSENTHAL, MONHAIT, & GODDESS                    michael.brown@dbr.com
Edward B. Rosenthal, Esquire                     jeffrey.boerger@dbr.com
erosenthal@rmgglaw.com                           (Counsel to Seaton, One Beacon, GEICO
(Counsel to CNA)                                 and Commercial Union)

GOODWIN PROCTER LLP                              STEVENS & LEE, P.C.
Daniel M. Glosband, Esquire                      John D. Demmy , Esquire
Brian H. Mukherjee, Esquire                      Leonard P. Goldberger, Esquire
Michael S. Giannotto, Esquire                    Marnie E. Simon, Esquire
dglosband@goodwinprocter.com                     jdd@stevenslee.com
bmukherjee@goodwinprocter.com                    lpg@stevenslee.com
mgiannotto@goodwinprocter.com                    mes@stevenslee.com
(Counsel to CNA)                                 (Counsel to Firemans’ Fund)
           Case 01-01139-AMC        Doc 22144-5     Filed 06/17/09   Page 4 of 7




PAUL, WEISS, RIFKIND, WHARTON &                   ALAN RICH LAW
GARRISON LLP                                      Alan B. Rich, Esquire
Stephan J. Shimshak, Esquire                      arich@alanrichlaw.com
Andrew N. Rosenberg, Esquire                      (Counsel to the PD FCR)
Margaret A. Phillips, Esquire
sshimshak@paulweiss.com                           CUYLER BURK P.C.
arosenberg@paulweiss.com                          Andrew K. Craig, Esquire
mphillips@paulweiss.com                           acraig@cuyler.com
(Counsel to the Pre Petition Lender Group)        SKADDEN, ARPS, SLATE, MEAGHER &
                                                  FLOM LLP
SIMPSON THACHER & BARTLETT LLP                    David Turetsky, Esquire
Peter V. Pantaleo, Esquire                        Greg St. Clair, Esquire
William T. Russell, Jr., Esquire                  david.turetsky@skadden.com
Marissa A. Piropato, Esquire                      Greg.Stclair@skadden.com
Elisa Alcabes, Esquire                            (Counsel to Sealed Air)
ppantaleo@stblaw.com
wrussell@stblaw.com                               KRAMER LEVIN NAFTALIS &
mpiropato@stblaw.com                              FRANKEL LP
ealcabes@stblaw.com                               Philip Bentley, Esquire
(Counsel to Travelers Insurance)                  Douglas Mannal, Esquire
                                                  Greg Horowitz, Esquire
COZEN O’CONNOR                                    David Blabey, Esquire
William P. Shelley, Esquire                       pbentley@kramerlevin.com
Jacob C. Cohen, Esquire                           dmannal@kramerlevin.com
Ilan Rosenberg, Esquire                           ghorowitz@kramerlevin.com
wshelley@cozen.com                                dblabey@kramerlevin.com
jcohn@cozen.com                                   (Counsel to the Equity Committee)
IRosenberg@cozen.com
(Counsel to Federal Insurance)                    WILMERHALE
                                                  Nancy L. Manzer, Esquire
BIFFERATO GENTILOTTI, LLC                         nancy.manzer@wilmer.com
Garvan F. McDaniel, Esquire
gmcdaniel@bglawde.com                             Environmental Protection Agency
(Counsel to Arrowood Indemnity)                   Andrea Madigan
                                                  Madigan.andrea@epa.gov
WILSON, ELSER, MOSKOWITZ,                         (Environmental Counsel re Libby)
EDELMAN & DICKER LLP
Carl J. Pernicone, Esquire                        ORRICK, HERRINGTON & SUTCLIFFE
Catherine Chen, Esquire                           Debra L. Felder, Esquire
carl.pernicone@wilsonelser.com                    Roger Frankel, Esquire
Catherine.chen@wilsonelser.com                    Mary A. Wallace, Esquire
(Counsel to Royal Insurance and Arrowood          Richard H. Wyron, Esquire
Indemnity)                                        Jonathan Guy, Esquire
                                                  Kathleen Orr, Esquire
                                                  Peri Mahaley, Esquire
                                                  Joshua Cutler, Esquire
          Case 01-01139-AMC        Doc 22144-5     Filed 06/17/09   Page 5 of 7




dfelder@orrick.com
rfrankel@orrick.com                              HOGAN & HARTSON
mwallace@orrick.com                              James P. Ruggeri, Esquire
rwyron@orrick.com                                jpruggeri@hhlaw.com
jguy@orrick.com                                  MCDERMOTT WILL & EMERY
korr@orrick.com                                  David S. Rosenbloom, Esquire
pmahaley@orrick.com                              drosenbloom@mwe.com
jcutler@orrick.com                               (Counsel to Fresenius)
(Counsel to the PI FCR)
                                                 CAMPBELL & LEVINE, LLC
W.R. GRACE COMPANY                               Mark T. Hurford, Esquire
Richard Finke                                    Marla R. Eskin, Esquire
Mark Shelnitz                                    mhurford@camlev.com
John McFarland                                   meskin@camlev.com
richard.finke@grace.com                          (Delaware counsel to the ACC)
mark.shelnitz@grace.com
john.mcfarland@grace.com                         O’MELVENY & MYERS LLP
                                                 Brad Elias, Esquire
U.S. DEPARTMENT OF JUSTICE                       Tancred Schiavoni, Esquire
James Freeman                                    Gary Svirsky, Esquire
james.freeman2@usdoj.gov                         Paul R. Koepff, Esquire
(Environmental Counsel re Libby)                 belias@omm.com
                                                 tschiavoni@omm.com
CAPLAN & DRYSDALE                                gsvirsky@omm.com
Jeffrey A. Liesemer, Esquire                     pkoepff@omm.com
Peter Van N. Lockwood, Esquire                   (Counsel to Royal Indemnity and Arrowood
Nathan Finch, Esquire                            Indemnity)
Elihu Inselbuch, Esquire
Jeffrey A. Liesemer, Esquire                     MORRIS, NICHOLAS, ARSHT &
jal@capdale.com                                  TUNNELL LLP
pvnl@capdale.com                                 Robert J. Dehney, Esquire
ndf@capdale.com                                  Ann C. Cordo, Esquire
ei@capdale.com                                   rdehney@mnat.com
jal@capdale.com                                  acordo@mnat.com
(Counsel to the ACC)
                                                 ZEICHNER ELLMAN & KRAUSE LLP
STEPTOE & JOHNSON LLP                            Michael S. Davis, Esquire
George R. Calhoun V, Esquire                     Robert Guttmann, Esquire
gcalhoun@steptoe.com                             rguttmann@zeklaw.com
                                                 mdavis@zeklaw.com
CROWELL & MORING                                 (Counsel to AIG and National Union)
Mark A. Plevin
Leslie Epley Davis
mplevin@crowell.com
lepley@crowell.com
(Counsel to Firemans’ Fund)
           Case 01-01139-AMC        Doc 22144-5     Filed 06/17/09   Page 6 of 7




PACHULSKI STANG ZIEHL & JONES                     JOHN SHEEHAN SPADARO, LLC
James E. O’Neill, Esquire                         John S. Spadaro, Esquire
Timothy P. Cairns, Esquire                        jspadaro@johnsheehanspadaro.com
Kathleen P. Makowski, Esquire
Patricia Cuniff, Paralegal                        MENDES & MOUNT LLP
Lynzy Oberholzer, Paralegal                       Alexander Mueller, Esquire
joneill@pszjlaw.com                               Thomas J. Quinn, Esquire
tcairns@pszjlaw.com                               Eileen McCabe, Esquire
kmakowski@pszjlaw.com                             Anna Newsom, Esquire
pcuniff@pszjlaw.com                               Carolina Acevedo, Esquire
loberholzer@pszjlaw.com                           alexander.mueller@mendes.com
                                                  thomas.quinn@mendes.com
KIRKLAND & ELLIS                                  eileen.mccabe@mendes.com
David Bernick, Esquire                            anna.newsom@mendes.com
Lisa G. Esayian, Esquire                          carolina.acevedo@mendes.com
Christopher T. Greco, Esquire                     (Counsel to the London Market Companies)
Criag A. Bruens, Esquire
Theodore L. Freedman, Esquire                     DILWORTH PAXON LLP
Barbara Harding, Esquire                          Martin J. Weis, Esquire
Brian Stansbury, Esquire                          Anne Marie P. Kelley, Esquire
Andrew Running, Esquire                           Scott J. Freedman, Esquire
Kimberly Love,                                    mweis@dilworthlaw.com
dbernick@kirkland.com                             akelley@dilsorthlaw.com
lesayian@kirkland.com                             sfreedman@dilworthlaw.com
cgreco@kirkland.com
cbruens@kirkland.com                              WILDMAN, HARROLD, ALLEN &
tfreedman@kirkland.com                            DIXON LLP
klove@kirkland.com                                Jonathan W. Young, Esquire
bharding@kirkland.com                             young@wildman.com
arunning@kirkland.com                             (Counsel to CNA)
bstansbury@kirkland.com
                                                  SPEIGHTS & RUNYAN LLP
ZUCKERMAN SPAEDER LLP                             Daniel Speights, Esquire
Thomas G. Macauley, Esquire                       dspeights@speightsrunyan.com
Virginia Whitehill Guldi, Esquire                 (Counsel to Anderson Memorial and other
James Sottile, Esquire                            PD Claimants)
tmacauley@zuckerman.com
vguldi@zuckerman.com                              RICHARDSON PATRICK WESTBROOK
jsottile@zuckerman.com                            & BRICKMAN, LLC
(Counsel to Equitas)                              Edward J. Westbrook, Esquire
                                                  ewestbrook@rpwb.com
McCARTER & ENGLISH, LLP                           (Counsel to ZAI claimants)
Katharine L. Mayer, Esquire
Daniel M. Silver, Esquire
kmayer@mccarter.com
dsilver@mccarter.com
         Case 01-01139-AMC        Doc 22144-5     Filed 06/17/09   Page 7 of 7




ANDERSON KILL & OLICK P.C.                      THE LAW OFFICES OF JANET S. BAER
Robert M. Horkovick, Esquire                    Janet S. Baer, Esquire
rhorkovich@andersonkill.com                     jbaer@jsbpc.com
(ACC Special Insurance Counsel)
                                                KOZYAK TROPIN &
FULBRIGHT & JAWORSKI L.L.P.                     THROCKMORTON, P.A.
Toby L. Gerber, Esquire                         David L. Rosendorf, Esquire
tgerber@fulbright.com                           John Kozyak, Esquire
(Counsel to Kaneb)                              drosendorf@kttlaw.com
                                                jk@kttlaw.com
BUCHANAN INGERSOLL & ROONEY                     (Counsel to Anderson Memorial)
Teresa K.D. Currier, Esquire
teresa.currier@bipc.com                         STICHTER RIEDEL BLAIN & PROSSER
                                                Harley E. Riedel, Esquire
BIFFERATO GENTILOTTI LLC                        hriedel@srbp.com
Ian Connor Bifferato, Esquire
cbifferato@bifferato.com

PHILLIPS, GOLDMAN & SPENCE, P.A.
John C. Phillips, Jr.
jcp@pgslaw.com




                                                      /s/ Garvan F. McDaniel
                                                      Garvan F. McDaniel (#4167)
